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 8
 9                          UNITED STATES DISTRICT COURT FOR THE
10                              EASTERN DISTRICT OF CALIFORNIA
11
12   COALITION FOR A SUSTAINABLE DELTA and                     )
     KERN COUNTY WATER AGENCY,                                 )   No. 1:09-cv-02024-LJO-BAM
13                                                             )
                  Plaintiffs,                                  )   SECOND STIPULATION AND
14                                                             )   ORDER RESETTING
     v.                                                        )   SCHEDULING CONFERENCE
15                                                             )
     FEDERAL EMERGENCY MANAGEMENT                              )   Date: March 1, 2012
16   AGENCY, et al.,                                           )   Time: 8:30 a.m.
                                                               )   Location: Courtroom 8
17               Defendants.                                   )   Fresno Division
                                                               )
18
19
             Pursuant to Fed. R. Civ. P. 6(b)(1)(A), L.R. 143, and L.R. 144(a), Plaintiffs and
20
     Defendants, by and through undersigned counsel, hereby respectfully request and stipulate that
21
     the Mandatory Scheduling Conference currently set for March 1, 2012 (docket no. 160) be reset
22
     for Thursday, April 5, 2012, or a subsequent date that is convenient for the Court, in order to
23
     allow the parties to conclude settlement discussions. This is the parties’ second stipulation to
24
     continue the scheduling conference in order to allow for the conclusion of settlement discussions.
25
     By Order dated January 6, 2012 (docket no. 160), the Court approved the parties’ first stipulation
26
     and reset the scheduling conference from January 26, 2012, to March 1, 2012. The parties have
27
     been conducting extensive discussions and believe that they are close to reaching an agreement
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 1   in principle that, if approved by their clients, would obviate the need for any further litigation.
 2   Accordingly, good cause exists for the proposed continuance.
 3   DATED: February 22, 2012                                       Respectfully submitted
 4   NOSSAMAN LLP                                                        IGNACIA S. MORENO
     ROBERT D. THORNTON                                                  Assistant Attorney General
 5   PAUL S. WEILAND
 6   AUDREY HUANG                                                           /s/ Kevin W. McArdle
                                                                         KEVIN W. McARDLE, Trial Attorney
 7   By: _/s/ Paul S. Weiland                                            United States Department of Justice
                                                                         Environment & Natural Resources Division
 8   Attorneys for Plaintiffs Coalition for a                            Wildlife & Marine Resources Section
 9   Sustainable Delta and Kern County Water                             Benjamin Franklin Station, P.O. Box 7369
     Agency                                                              Washington, D.C. 20044-7369
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     KERN COUNTY WATER AGENCY                                            Kevin.McArdle@usdoj.gov
11   AMELIA T. MINABERRIGARAI
12                                                                       Attorneys for Defendants
     By:                      /s/ Amelia T. Minaberrigarai
13
     Attorneys for Plaintiff Kern County Water
14
     Agency
15
16
17                                                                 ORDER

18                             Based on the Stipulation of the Parties, and for good cause shown, the Court continues

19   the Initial Scheduling Conference, currently set for March 1, 2012 to April 25 at 9:00 a.m. in

20   courtroom 8 (BAM) before Magistrate Judge Barbara A. McAuliffe. No further continuances of

21   the Initial Scheduling Conference will be granted.

22
23
24   IT IS SO ORDERED.

25
                            Dated:   February 22, 2012                         /s/ Barbara A. McAuliffe
26                                                                      UNITED STATES MAGISTRATE JUDGE
     DEAC_Signature-END:




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     10c20kb8554
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